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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA - DESIGNATION FORM to be used by counsel to indicate the category of the
case for the purpose of assignment to appropriate calendar.

Address of Plaintiff: Davis Road and Oakwood Lane, Valley Forge, PA 19482

Address of Defendant: _1251 Sequoia Road, Cherry Hill, NJ_08003 and 9040 Pennsauken Highway, Pennsauken, NJ 08110

Place of Accident, incident or Transaction: _Pennsylvania
(Use Reverse Side For Additional Space)

Does this case involve multidistrict litigation possibilities? Yes [] No K
RELATED CASE IF ANY
Case Number: 06-3056 Judge RF. Kelly Date Terminated:

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

YesL] NoK
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously
terminated action in this court? Yes XJ No

3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year
previously terminated action in this court?
YesC] Nol

CIVIL: (Place X in ONE CATEGORY ONLY)

A. Federal Questions Cases: B. Diversity Jurisdiction Cases:

1. [1] Indemnity Contract, Marine Contract, and All Other Contracts 1. [J Insurance Contract and Other Contracts
2. [] FELA 2. (J Airplane Personal Injury

3. (1 Jones Act - Personal Injury 3. (0 Assault, Defamation

4. [] Antitrust 4. [1 Marine Personal Injury

5. [J Patent 5. [J Motor Vehicle Personal Injury

6. [| Labor-Management Relations 6. (J Other Personal Injury (Please specify)
7. (1 Civil Rights 7. (1) Products Liability

8. [1 Habeas Corpus 8. (1 Products Liability - Asbestos

9. [1 Securities Act(s) Cases 9. (J Allother Diversity Cases

10. [] Social Security Review Cases (Please specify)

S . Pennsylvania common law (breach of contract)
11. All other Federal Question Cases
(please specify) ERISA
ARBITRATION CERTIFICATION
(Check appropriate category)
I, , counsel of record do hereby certify:
L] Pursuant to Local Civil Rule 8, Section 4(a)(2), that, to the best of my knowledge and belief, the damages recoverable in this civil
action case exceed the sum of $100,000 exclusive of interest and cost;
[1 Relief other than monetary damages is sought.
DATE: 10-31-07 Eric J, Schreiner 76721

Attorney-at-Law Attorney LD. #

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

1 certify that, to my knowledge, the within case is not related to any case now pending or within one year previously termination action in this court
except as noted above.

DATE: 10-31-07 Eric J. Schreiner 76721
Attorney-at-Law Attorney I.D. #

{00183754:v1}

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JS 44
(Rev. 3/99}

CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil

docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

1.(a) PLAINTIFFS DEFENDANTS

Warehouse Employees Local 169 and Employers Joint Pension Fund; Joseph Printers, Inc. and TPG Graphics, Inc.

Lyons, Brian Riece, Michael Zachwieja, Edward McDermott, Raymond
Tarnowski, Michael J. Lorenca, George Czuba and Their Successors as Trustees

of the Warehouse Employees Local 169 and Employers Joint Pension Fund IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE

TRACT OF LAND INVOLVED

NOTE:

(c} ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER) ATTORNEYS (IF KNOWN)
Eric J. Schreiner, Esq.

Paul E. Bomze, Esq.

Kleinbard Bell & Brecker, LLP
One Liberty Place, 46th Floor
1650 Market Street
Philadelphia, PA 19103
215-568-2000

li. BASIS OF JURISDICTION (PLACE AN X IN ONE BOX ONLY) fil. CITIZENSHIP OF PRINCIPAL PARTIES {PLACE AN X IN ONE BOX
(For Diversity Cases Onty) FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
(J 1U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State oO I Oh Incorporated or Principal Place oO 4 O 4
. . of Business in This State
0 as. Government O 4 DN oe Citi hip of Citizen of Another State oO 2 Ol 2 Incorporated and Principal Place oO 5 OC] 5
Defendant (In icate itizenship o of Business in Another State
Parties in Item Ill) Citizen or Subject of a oO 3 oO 3 Foreign Nation oO 6 O 6
Foreign Country
IV. NATURE OF SUIT (eiace An x In ONE BOX ONLY)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
O 110 Insurance PERSONAL INJURY PERSONAL INJURY O 610 Agriculture O1 422 Appeal (] 400 State Reapportionment
[1 120 Marine O 310 Airplane 0 362 Personal injury - |[] 620 Other Food & Drug 28 USC 158 O 410 Antitrust
O 130 Miller Act O 315 Airplane Product Med Malpractice O 625 Drug Related ) 423 Withdrawal O 430 Banks and Banking
© 140 Negotiable Instrument Liability 1 365 Persona! Injury - Seizure of 28 USC 157 O 450 Commerce/ICC
0 150 Recovery of Over-payment |[J 320 Assault, Libel & Product Liability Property 21 USC Rates/etc.
& Enforcement of Slander O 368 Asbestos 881 PROPERTY RIGHTS |[1 460 Deportation
Judgment (1 330 Federal Personal 01 630 Liquor Laws 0 820 Copyrights O 470 Racketeer Influenced
151 Medicare Act Employers’ Injury Product O 640 RR & Truck 0 830 Patent and Corrupt
152 Recovery of Defaulted Liabitity Liability O 650 Airline Regs 0 840 Trademark Organizations
Student Loans (Excl. 0 340 Marine PERSONAL PROPERTY 0 660 Occupational O 810 Selective Service
Veterans) O 345 Marine Product 370 Other Fraud Safety/Health O 861 HIA (1395ff} €] 850 Securities/Commodities/
O 153 Recovery of Over- Liability O 371 Truthin Lending | 690 Other O 862 Black Lung (923) Exchange
payment of Veteran’s 1 350 Motor Vehicle 0 380 Other Persona! O 3863 Diwc/DIWw O 875 Customer Challenge 12
Benefits 01 355 Motor Vehicle Property LABOR (405(g)) USC
{J 160 Stockholders’ Suits Product Liability Damage 710 Fair Labor Standards |[] 864 SSID Titie XVI 3410
& 190 Other Contract 1 360 Other Personal O 385 Property Damage Act [1 865 RSI (405)(g)) O 891 Agricultural Acts
195 Contract Product Liability Injury Product Liability O) 720 Labor/Mgmt. Relations O 892 Economic Stabilization
0 730 Labor/Mgmt. FEDERAL TAX SUITS Act
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS Reporting & (1 870 Taxes (U.S. O 893 Environmental Matters
O 210 Land Condemnation 1 441 Voting £1 510 Motions to Disclosure Act Plaintiff or (] 894 Energy Allocation Act
O 220 Foreclosure O 442 Employment Vacate Sentence O 740 Railway Labor Act Defendant) (] 895 Freedom of Information
(1 230 Rent Lease & Ejectment O 443 Housing/ Habeas Corpus: O 790 Other Labor 0 871 IRS - Third Act
{] 240 Torts to Land Accommodations © 530 General Litigation Party 26 O 900 Appeal of Fee
() 245 Tort Product Liability O) 444 Welfare O 535 Death Penalty Bi 791 Emp. Ret. inc. USC 7609 Determination
290 All Other Real Property O]) 440 Other Civil Rights [0 540 Mandamus & Security Act Under Equal Access to
Other Justice
1 550 Other O1 950 Constitutionality of
State Statutes
1 890 Other Statutory Actions
VI. ORIGIN (PLACE AN X IN ONE BOX ONLY)
£1 1 originat Proceeding (1 2Removed from state [J 3Remanded from [1] = 4 Reinstated or 1 | s Transferred trom D sé Multidistrict Cs 7 Appeat to District
Court Appellate Court Reopened another district (specify) Litigation Judge from Magistrate

Judgment

CAUSE OF ACTION (ciTE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE

vi.
Sections 502(a), (e), (f), and (g) and 4301 (a), (b), and (c) of ERISA, 29 USC § 1132(a),

DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)
(e), (f) and (g) and 1451 (a), (b), and (c).

Check YES only if demanded in complaint:
JURY DEMAND: OYes 0 No

REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND
COMPLAINT: O  UNDERF.R.C-P. 23
Vill. RELATED CASE(S) (See instructions):

IF ANY Warehouse Employees Local 169, et al. v. Printers, Inc. JUDGE :

SIGNATURE OF ATTORNEY OF RECORD Fh (

Vil.

DOCKET NUMBER ___06-3056

fo) 3f07

R.F. Kell

DATE
10/31/07

6 ee

{00183752;v1}

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK. DESIGNATION FORM

Warehouse Employees Local 169 and : CIVIL ACTION
Employers Joint Pension Fund; Joseph Lyons,
Brian Riece, Michael Zachwieja, Edward
McDermott, Raymond Tarnowski, Michael J.
Lorenca, George Czuba and Their Successors: NO.
as Trustees of the Warehouse Employees Local
169 and Employers Joint Pension Fund,
Plaintiff

Vv.

Printers, Inc. and TPG Graphics, LLC,

Defendants :
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff shall complete a
case Management Track Designation Form in all civil cases at the time of filing the complaint and serve a copy on all
defendants. (See § 1:03 of the plan set forth on the reverse side of this form.) In the event that a defendant does not agree
with the plaintiff regarding said designation, that defendant shall, with its first appearance, submit to the clerk of court and
serve on the plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. §2241 through §2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health and
Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from ( )
exposure to asbestos.

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by the
court. (See reverse side of this form for a detailed explanation of special management

cases.) ( )
(f) Standard Management - Cases that do not fall into any one of the other tracks. (X)
10-31-07 Eric J. Schreiner Plaintiffs
Date Attorney-at-Law Attorney for
(215) 568-2000 (215) 568-0140 eschreiner@kleinbard.com
Telephone FAX Number E-Mail Address

{00183753;v1} (Civ. 660) 10/02
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WAREHOUSE EMPLOYEES LOCAL 169 AND

EMPLOYERS JOINT PENSION FUND; J OSEPH :

LYONS, BRIAN RIECE, MICHAEL :

ZACHWIEJA, EDWARD McDERMOTT, : Civil Action No.
RAYMOND TARNOWSKI, MICHAEL J.

LORENCA, GEORGE CZUBA AND THEIR

SUCCESSORS AS TRUSTEES OF THE

WAREHOUSE EMPLOYEES LOCAL 169

AND EMPLOYERS JOINT PENSION FUND,

Plaintiffs,
v.
PRINTERS, INC., and TPG GRAPHICS, LLC

Defendants.

COMPLAINT

Plaintiffs, by their attorneys, Kleinbard Bell & Brecker LLP, bring this action against
Defendants Printers, Inc. (“Printers”) and TPG Graphics, LLC (“TPG”) and in support thereof

allege as follows:

NATURE OF THE ACTION

1. This is an action by Plan fiduciaries to: (i) compel an employer to pay withdrawal
liability pursuant to Sections 4201 through 4225 and 4301 of the Employee Retirement Income
Security Act of 1974, as amended by the Multiemployer Pension Plan Amendments Act of 1980
(“ERISA”), 29 U.S.C. §1381 through 1405 and 1451; and (ii) impose successor liability upon

the employer’s successor for the obligations of the employer.

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2. Printers has failed to make its five quarterly withdrawal liability payments of
$6,108 due on October 1, 2006, January 1, 2007, April 1, 2007, July 1, 2007 and October 1,
2007, in the total amount of $30,540.

3. On May 31, 2003, TPG entered into an Asset Purchase Agreement (the “APA”)
with Printers, pursuant to which it acquired all of the assets of Printers.

4. Although the APA provided that TPG was assuming only two listed liabilities of
Printers, following the execution of the APA, TPG in reality assumed all of the liabilities of
Printers, including Printers obligation to make withdrawal liability payments.

5. In essence, TPG simply moved Printers operations to New Jersey and continued

Printers’ business with the same employees serving the same customers.

6. TPG is liable, as Printers’ successor, for Printers’ failure to make its withdrawal
liability payments.
JURISDICTION
7. The jurisdiction of this Court is invoked pursuant to Sections 502(a), (e), (f) and

(g) and 4301(a), (b) and (c) of ERISA, 29 U.S.C. §1132(a), (e), (H and (g) and 1451(a), (b) and
(c). The Court also has supplemental jurisdiction over the successor liability claim pursuant to
28 U.S.C. §1367.

VENUE

8. As the Plan is administered within the Eastern District of Pennsylvania, this
action is properly brought in this district pursuant to Sections 502(e)(2) and 4301 (d) of ERISA,

29 U.S.C. §§1132(e)(2) and 1451(d).

THE PARTIES

9. The Warehouse Employees Local 169 and Employers Joint Pension Fund (the

“Fund”) was established and maintains a plan (the “Plan”) to provide retirement income to

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employees for whom contributions are made by employers. As such, it is an “employee pension
benefit plan” within the meaning of Section 3(2) of ERISA, 29 U.S.C. §1002(2). The Plan is
maintained pursuant to one or more collective bargaining agreements between an employee
organization and various employers, which require such employers to contribute to the Fund. As
such, the Fund is a “multiemployer plan” within the meaning of Section 3(37) of ERISA, 29
U.S.C. §1002(37).

10. The Fund is administered by a Board of Trustees composed of an equal number of
employer and employee representatives, as required by Section 302(c) (5) of the Labor
Management Relations Act of 1947, as amended, 29 U.S.C. §186(c) (5). The Board of Trustees
is the “plan sponsor” with respect to the Plan pursuant to Section 3(16)(B)(iii) of ERISA, 29
U.S.C. §1002(16)(B)(iii). The Fund maintains its offices and the Plan is administered at Davis
Road and Oakwood Lane, Valley Forge, Pennsylvania 19482.

11. Plaintiffs Joseph Lyons, Brian Riece, Michael Zachwieja, Edward McDermott,
Raymond Tarnowski, Michael J. Lorenca and George Czuba (“Plaintiff Trustees”) are members
of the Fund’s Board of Trustees. The Plaintiff Trustees exercise discretionary authority, control
and responsibility with respect to management and administration of the Fund and Plan and
disposition of Fund assets. As such, Plaintiff Trustees are fiduciaries with respect to the Plan,
within the meaning of Section 3(21) of ERISA, 29 U.S.C. §1002(21).

12. | Upon information and belief, Printers, formerly known as Clinton Envelope &
Paper Co., is a Pennsylvania corporation having had its principal places of business at 10 North
11" Street, Philadelphia, PA 19107. Upon information and belief, Printers only current address

is 1251 Sequoia Road, Cherry Hill, New Jersey 08003.

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13. Printers was a party, directly or indirectly, to a collective bargaining agreement
with Warehouse Employees Union Local 169. Pursuant to said collective bargaining agreement,
Printers was obligated to make contributions to the Fund on behalf of certain of its employees.
As such, Printers is an “employer” within the meaning of Section 3(5) of ERISA, 29 U.S.C.
§1002(5).

14. | Upon information and belief, TPG is a New Jersey limited liability company
having its principal places of business at Pennsauken Industrial Park, 9040 Pennsauken
Highway, Pennsauken, NJ 08110. Upon information and belief, TPG is the successor to
Printers.

FACTS

A. Printers Withdrawal Liability Under ERISA

15. In or about May 2003, Printers withdrew from participation in the Plan, within the
meaning of Section 4203(a) of ERISA, 29 U.S.C. §1383(a).

16. As aresult of withdrawal from the Plan, Printers became liable to the Fund for
withdrawal liability in the amount of $98,620 pursuant to Section 4201 of ERISA, 29 U.S.C.
§1381.

17. After determining the amount of Printers’ withdrawal liability, on or about July
28, 2003 the Fund notified Printers of the estimated amount of its withdrawal liability and of the
schedule for liability payments and demanded payment in accordance with the schedule, as
required by Sections 4202 and 4219(b)(1) of ERISA, 29 U.S.C. §§1382 and 1399(b)(1). On or
about December 1, 2003, the Fund notified Printers of the final amount of its withdrawal
liability. Copies of said notices to Printers (“Notice and Demand”) are annexed hereto, and

made a part hereof, as Exhibit “A”.

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18. Pursuant to Section 4219(c) of ERISA, 29 U.S.C. §1399(c), and as provided in the
Notice and Demand, Printers was required to make quarterly withdrawal liability payments in the
amount of $6,108 for eighteen quarters and a final or 19" payment in the amount of $3,064. The
first payment was due on or before January 1, 2004.

19. Printers made its first nine quarterly withdrawal liability payments for the period
from January 1, 2004 through January 1, 2006.

B. Printers Failure to Make Withdrawal Liability Payments

20. Printers failed to make its quarterly withdrawal liability payment of $6,108 due
April 1, 2006.
21. On or about May 25, 2006, the Plaintiffs initiated suit against Printers for the

April 1, 2006 payment. See Warehouse Employees Local 169 and Employers Joint Pension

Fund, et al. v. Printers, Inc., No. 2:06-cv-02218-RK (U.S.D.C., E.D. Pa.).

22. On August 9, 2006, Plaintiffs obtained a default judgment in the amount of
$10,067.26 against Printers. A copy of the Order granting judgment against Printers in the
amount of $10,067.26 is attached hereto, and made a part hereof, as Exhibit “B”.

23. Printers also failed to make its quarterly withdrawal liability payment of $6,108

due July 1, 2006.

24. On or about July 12, 2006, Plaintiffs initiated suit against Printers for the July 1,

2006 payment. This lawsuit is currently pending, see Warehouse Employees Local 169 and

Employers Joint Pension Fund, et al. v. Printers, Inc., No. 2:06-cv-03056-RK (U.S.D.C., E.D.

Pa.).

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25. Printers also failed to make its five quarterly withdrawal liability payments of
$6,108 due on October 1, 2006, January 1, 2007, April 1, 2007, July 1, 2007 and October 1,

2007.

26. The total amount of these five missed withdrawal liability payments is $30,540.

C. TPG is the Successor to Printers

1. The Asset Purchase Agreement

27. Upon information and belief, Robert Donner (“Donner”) was at all relevant times
the President of Printers. Donner and his brother, Jay Donner, are the sole shareholders of
Printers.

28. Onor about May 30, 2003, Printers entered into the APA. A copy of the APA is
attached hereto, and made a part hereof, as Exhibit “C”.

29. Upon information and belief, TPG was formed for the sole purpose of acquiring
Printers. TPG had no other ongoing business.

30. | Upon information and belief, TPG was formed and owned at the time of
formation by Steven Rubin (“Rubin”).

31. Rubin and Donner were friends who had know each other for many years through
the printing business.

32. Pursuant to the APA, Printers agreed, inter alia, to sell its assets to TPG. See
APA at p.p. 1-2, §1.

33. Pursuant to the APA, TPG also agreed to assume certain listed liabilities of
Printers. See id. at p.p. 2-3, §2. The APA listed two assumed obligations: (i) a vehicle loan
with Beneficial Savings Bank in the amount of $13,338.84; and (ii) a vehicle loan with

Beneficial Savings Bank in the amount of $13,108.56. See id. at p. 3, §3.

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34. The APA further provided that TPG was not assuming any liabilities of Printers
other than those specifically set forth in the APA. See id. at p.p. 2-3, §2 and Exhibit A.

35. | TPG also agreed to pay Printers the total amount of $500,000.00 (the “Purchase
Price”).

36. The Purchase Price was to be paid by delivery by TPG to Printers of a promissory
note in the principal amount of $500,000.00 (the “Promissory Note”), which was to be repaid in
five annual installments beginning on May 31, 2004 with interest at the annual rate of 5%. See
id. at p.p. 3-4, §4. A copy of the Promissory Note is attached hereto, and made a part hereof, as
Exhibit “D”.

37. TPG has not made any payments to Printers pursuant to the Promissory Note.

38. Printers has not made any efforts to collect any monies that may be due under the
Promissory Note.

39, Printers ceased its operations after May 31, 2003.

2. TPG Continued Printers Business

40. As of June 2003, TPG took over the operations of Printers.

41. Upon information and belief, after June 2003 TPG did business as Clinton
Envelope & Paper Co., just as Printers had done prior to June 2003.

42. TPG, doing business as Clinton Envelope & Paper Co., continued to utilize the

computer system previously utilized by Printers.

43, After June 2003 TPG did business with the same customers that Printers had done

business with prior to June 2003.

44. _ As of June 2003, Donner became the general manager of TPG, a position he still

holds today. Prior to June 2003, Donner served as the general manager of Printers.

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45. As of June 2003, Linda Donner, Donner’s wife, became the secretary/bookkeeper
for TPG. Prior to June 2003, she served as secretary/bookkeeper of Printers.

46. As of June 2003, approximately four additional former employees of Printers
became employees of TPG.

47. Upon commencing its operations in June 2003, TPG did not have any employees
that were not former employees of Printers.

48. | Upon information and belief, Rubin was not involved in the operations of TPG.

3. TPG Moved Printers Operations to New Jersey to a Building
Purchased for Printers Operations Prior to the APA

49. Prior to entering into the APA, Printers was located in a building at 310 North
11" Street, Philadelphia, Pennsylvania (the “Philadelphia Building”).

50. The Philadelphia Building was owned by 10 and Lombard Corporation (“10"
and Lombard”), a company owned 100% by Donner’s daughter.

51. Donner was in charge of 10" and Lombard’s operations.

52. 10" and Lombard’s only asset was the Philadelphia Building.

53. 10™ and Lombard sold the Philadelphia Building during the latter part of 2002.

54. At the end of 2002, 10" and Lombard purchased a building located at 9040
Pennsauken Highway, Pennsauken, New Jersey (the “Pennsauken Building”).

55. 10" and Lombard purchased the Pennsauken Building specifically so that Printers
could conduct its operations there.

56. Upon information and belief, as part of the asset sale, the parties had an
understanding that TPG would operate out of the Pennsauken Building.

57. As of June 2003, TPG, doing business as Clinton Envelope & Paper Co., began

operations in the Pennsauken Building.

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58. After May 31, 2003, while he was the general manager of TPG, Donner continued
to collect Printers’ trade receivables from TPG’s office at the Pennsauken Building.

4. TPG Assumed All of Printers Liabilities After May 31, 2003

59. Although the APA provided that TPG would only assume two specific listed
liabilities of Printers, in reality TPG continued to pay numerous other debts of Printers and
assumed virtually all, if not all, of Printers’ liabilities.

60. TPG either directly paid off or provided Printers with the money to pay off
Printers trade payables that existed as of May 31, 2003, in the total amount of approximately
$241,000, at the direction of Donner.

61. Printers had a line of credit with Mellon Bank that it used for operating capital on
which it owed approximately $43,000 as of May 31, 2003.

62. After May 31, 2003, TPG made payments on this line of credit until it was paid
off in 2007.

63.  Atthe time of the APA, Printers was making payments on an equipment loan with
Commerce Bank that Robert and Linda Donner personally had obtained to finance the purchase
of a printing press utilized by Printers. The printing press was acquired by TPG pursuant to the
APA. As of May 31, 2003, the balance on this loan was approximately $143,000.

64. After May 31, 2003, TPG made monthly payments on this equipment loan with
Commerce Bank.

65. TPG made these payments by writing checks payable to Linda Donner for the
amount of the monthly payment because the monthly payment was automatically deducted from

a personal account that Linda and Robert Donner maintained at Commerce Bank. The monthly

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payment was automatically deducted from the Donners’ personal account because this process
allowed the Donners to obtain a lower interest rate on the loan.

66. | The Donners subsequently refinanced this loan with Sterling Bank in 2005. It
was refinanced in the total amount of $200,000 with the additional funds being obtained to
provide capital to TPG. TPG continues to make monthly payments on the refinanced loan.

67. Prior to May 31, 2003, Printers entered into a Stock Redemption Agreement with
Jay Donner, pursuant to which Printers had the right to acquire the shares in Printers owned by
Jay Donner.

68. After May 31, 2003, TPG provided Printers with the funds to make payments to
Jay Donner pursuant to the Redemption Agreement and, upon information and belief, continues
to do so to date.

69. TPG provided Printers with funds for this purpose by writing checks to Printers.
Printers would then make payments to Jay Donner using checks drawn on a Printers bank
account that remained in existence after May 31, 2003.

70. + At the time of the parties entered into the APA, Printers had an “officer loan” that
Donner had provided to it in the amount of approximately $61,000.

71. Upon information and belief, after May 31, 2003, TPG assumed Printers
obligation to repay this loan but it has not been repaid.

72. Since May 31, 2003, and prior to the time Printers stopped making withdrawal
payments to the Fund, TPG also has provided Printers with the funds necessary to make its
withdrawal payments to the Fund.

73. In addition, since May 31, 2003 TPG, has provided Printers with funds necessary

to pay any other continuing obligations Printers may have.

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5. Rubin Sells TPG to Linda Donner for $1

74, In January 2005, Linda Donner purchased TPG from Rubin.
75. | Upon information and belief, the total purchase price was $1.

76. Upon information and belief, at present, Linda Donner is the sole owner of TPG.

COUNT I - ACTION UNDER ERISA FOR

WITHDRAWAL LIABILITY AGAINST PRINTERS

77. Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1
through 76 of this Complaint with the same force and effect as if set forth at length herein.
78. Printers has failed to make its five quarterly withdrawal liability payments of
$6,108 due on October 1, 2006, January 1, 2007, April 1, 2007, July 1, 2007 and October 1,
2007.
79. The total amount of these missed withdrawal liability payments is $30,540.
80. Printers has disputed the amount of withdrawal liability demanded by Plaintiffs.
81. Printers has initiated arbitration, as required under Section 4221(a) of ERISA, 29
U.S.C. §1401(a), in connection with its dispute of the amount of its withdrawal liability.
Arbitration hearings have not been scheduled.
82. Pursuant to Section 4221(d) of ERISA, 29 U.S.C. §1401(d), Printers is required to
continue making its quarterly withdrawal payments while the arbitration is pending.
WHEREFORE, Plaintiffs respectfully request that this Court enter an order and
judgment:
(a) Directing Printers to pay to the Fund the sum of $30,540.00;
(b) Directing Printers to pay to the Fund interest on the sum set forth in

paragraph (a) herein, computed from the date on which Printers failed to

{00181751;v1} 11

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make each of its quarterly withdrawal liability payments at the rates based
upon prevailing market rates for comparable obligations in accordance
with the regulations prescribed by the Pension Benefit Guaranty
Corporation, as provided in Article 13.2 of the Plan.

(c) Directing Printers to pay to the Fund liquidated damages provided under
the Plan and under §502(g)(2) of ERISA, 29 U.S.C.§1132(g)(2) in the
amount of 20% of the five unpaid quarterly installments of $30,540, or
$6,108.00.

(d) Directing Printers to pay to the Fund the reasonable attorneys’ fees and
costs of this action pursuant to Sections 502(g)(2)(D) and 4301(b) of
ERISA, 29 U.S.C. §1132(g)(2)(D) and 1451(b); and

(e) Granting such other and further relief as the Court deems appropriate.

COUNT II —- SUCCESSOR LIABILITY AGAINST TPG

83. Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1
through 82 of this Complaint with the same force and effect as if set forth at length herein.

84. By continuing to directly pay Printers’ liabilities after May 31, 2003, and/or
provide Printers with funds to pay these liabilities, TPG implicitly agreed to assume Printers’
liabilities, including its obligation to make withdrawal liability payments.

85. As set forth in detail above, TPG was merely a continuation of Printers.

86. As set forth in detail above, a de facto merger occurred between TPG and
Printers.

87. As set forth in detail above, the transfer of Printers’ assets to TPG was without

adequate consideration and no provisions were made for the creditors of Printers.

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88.

Accordingly, TPG is liable for Printers liabilities as a successor company,

including Printers’ withdrawal liability to the Fund.

WHEREFORE, Plaintiffs respectfully request that this Court enter an order and

judgment:

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(a)

(b)
(c)

(d)

(e)

(f)

Directing TPG to pay the Fund the sum of $10,067.26 to satisfy the
judgment Plaintiffs previously obtained against Printers;

Directing TPG to pay to the Fund the sum of $30,540.00;

Directing TPG to pay to the Fund interest on the sum set forth in
paragraph (b) herein, computed from the date on which Printers failed to
make each of its quarterly withdrawal liability payments at the rates based
upon prevailing market rates for comparable obligations in accordance
with the regulations prescribed by the Pension Benefit Guaranty
Corporation, as provided in Article 13.2 of the Plan.

Directing TPG to pay to the Fund liquidated damages provided under the
Plan and under §502(g)(2) of ERISA, 29 U.S.C.§1132(g)(2) in the amount
of 20% of the five unpaid quarterly installment of $30,540, or $6,108.00.
Directing TPG to pay to the Fund the reasonable attorneys’ fees and costs
of this action pursuant to Sections 502(g)(2)(D) and 4301(b) of ERISA, 29
U.S.C. §1132(g)(2)(D) and 1451(b);

Declaring that TPG is liable for any judgment Plaintiffs obtain against

Printers in the pending action captioned Warehouse Employees Local 169

and Employers Joint Pension Fund, et al. v. Printers, Inc., No. 2:06-cv-
03056-RK (U.S.D.C., E.D. Pa.);

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(g) Declaring that TPG is liable for any other withdrawal liability payments

that Printers fails to make; and

(h) Granting such other and further relief as the Court deems appropriate.

Dated: October 31, 2007

{00181751;v1}

Respectfully submitted,

KLEINBARD BELL & BRECKER LLP

/s/ Eric J. Schreiner

Eric J. Schreiner, Esquire (ES1579)
Paul E. Bomze, Esquire

One Liberty Place, 46" Floor

1650 Market Street

Philadelphia, PA 19103
215-568-2000

215-568-0140 (facsimile)

Attorneys for Plaintiffs

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EXHIBIT A

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Direct Dial
(215) 496-7221

July 28, 2003

CERTIFIED MAIL, RETURN RECEIPT

_ Clinton Envelope & Paper Co.
Pennsauken Industrial Park
9040 Pennsauken Highway
Pennsauken, NJ 08109

Attention: Robert Donner

Re: Warehouse Employees Local 169 and Employers
Joint Pension Plan - Demand for Payment of
Withdrawal Liability :

Gentlemen:

We are counsel to the Trustees of the Warehouse Employees Local 169
and Employers Joint Pension Plan ("Plan"). Clinton Envelope & Paper Company
("Company") has been a contributing employer to the Plan. The Trustees of the
Plan have determined that the Company has completely withdrawn from the Plan.
This constitutes a complete withdrawal under the provisions of the Multiemployer
Pension Plan Amendments Act of 1980, amending the Employee Retirement
Income Security Act of 1974 ("ERISA"). ERISA provides that in the event there
is a complete withdrawal from a Pension Plan by a contributing employer, that
employer is liable to the Plan for its proportionate share of the Plan's unfunded

vested benefits.

The Trustees of the Plan have assessed withdrawal liability against the
Company and have determined that the Company's proportionate share of the
unfunded vested benefits is $135,424. After deducting the sum of $14,576
under the de minimis rule, the net single sum due is $120,848. Computed in
accordance with the provisions of BRISA, the amortization schedule associated
with that amount requires the Company to pay 23 quarterly installments of $6,108
each, plus a final quarterly installment of $4,455. The first quarterly installment

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Fax 215.568.0140 | Philadelphia, PA 19103

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is due August 15,2003. These figures include interest due on the unpaid portion
of the liability during the payment period. The same interest rate is also utilized.
by the Plan for funding purposes and the determination of the unfunded vested

liability.

The Plan uses the presumptive method of computing withdrawal liability
pursuant to Section 4211(b) of ERISA. The calculations were based on a 2003
withdrawal and include periods up through December 31, 2001 only. As soon as
the Plan’s actuary completes the withdrawal liability calculations as of December
31, 2002, the Plan will notify the Company of the final amount and schedule of
payments. In the interim, the Company is required to begin making payments in
accordance with the schedule set forth above. I am enclosing a copy of a letter
from. the Plan's actuary dated May 14, 2003. .

This letter is intended as a demand for payment in accordance with the
above schedule.

Within ninety (90) days of the receipt of this letter,.the Company has the
opportunity to:

1. Ask the Trustees to review any specific matter relating to
the determination of the Company's liability and payment schedule,

2. Identify any inaccuracy in the determination of the amount
of any unfunded vested benefit allocated to the Company; and

3. Furnish any additional relevant information to the Trustees.

ERISA requires that the Company start making these payments on the date
indicated above even if the Company requests a review or appeals a determination
of the amount of the liability or of the schedule set forth above. If the Company
fails to make, when due, any payment in accordance with the foregoing schedule
and if the failure is not cured within sixty (60) days after the Company receives
written notification of such failure, the Plan will require immediate payment of
the outstanding amount of the liability plus accrued interest on the total
outstanding liability from the due date of the first payment which was not timely:

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Page 3
made. If the Plan is required to start suit to collect any amount due, the Company
will also be liable for attorneys' fees, costs and liquidated damages.

Should the Company dispute the foregoing demand, Company has a right
to appeal this decision to arbitration in accordance with the arbitration provisions
of BRISA. This procedure must be followed should any dispute regarding the
foregoing exist.

Very truly yours,
PAUL B. BOMZE
PEB/jt |
Enclosure
CC: Clinton Envelope & Paper Company

10 North 11 Street

Philadelphia, PA 19107

(Via Certified Mail, Return Receipt)

Mr. Lawrence McLaughlin

4 Mr. Joseph Lyons
Mr. James Brennan
* Bemard N. Katz, Esquire

James J. McKeogh, FSA

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Direct Dial
(215) 496-7221

December 1, 2003

CERTIFIED MAIL, RETURN RECEIPT

Mr. Richard Donner
c/o Printers, Inc.

1251 Sequoia Road
Cherry Hill, NJ 08003

Re: Wareliouse Employees Local 169 and .
Employers Joint Pension Plan - Printers,
Inc. - Withdrawal Liability

Dear Mr. Donner:

Please consider this letter as a response to the request for review dated
October 26, 2003 made by Printers, Inc. (“Company’’) which also trades under the
name of Clinton Envelope & Paper Co.

The numbered paragraphs listed below correspond to the numbered
paragraphs of the Company’s request for review dated October 26, 2003.

1. I am enclosing herewith the final withdrawal liability calculations
now that the actuary has completed the withdrawal liability calculations as of
December 31, 2002 which are based on a 2003 withdrawal. The previous
calculations only included periods up through December 31, 2001 because they
were the only ones available. Enclosed is a copy of the letter from the Plan’s
actuary dated November 14, 2003 which indicates how the calculation was made.
Based on the final calculations, the withdrawal liability amounts to $98,620 after
the application of the de minimus rule. The withdrawal liability is payable in 18
quarterly installments of $6,108, plus one additional payment of $3,064. Please
note that the census data used in the final calculation of the withdrawal liability
was the same as that used by the Plan’s actuary in performing the January 1, 2003
actuarial valuation. Enclosed are the contributions for Printers, Inc. and the
contribution hours for Printers Inc. and the Plan as a whole. The Plan actuary
believes that the data is accurate and appropriate and that the calculation and

methods used are correct.

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2. The calculations were based on a withdrawal by the Company in
May of 2003. Please note that even if the exact date of withdrawal is not May of
2003, the calculation would not change so long as the date is during the calendar

year 2003.

3. The Plan actuary has advised that the calculations cotrectly and
appropriately apply all provisions.of the law including any exceptions that may be

appropriate.

4. The single sum withdrawal liability, as revised, and the payment
schedule, as revised, are accurate.

Very truly yours,

PAUL E. BOMZE .

PEB/jt
Enclosure

CC: Mr. Lawrence McLaughlin
James J. McKeogh, FSA
Bernard N. Katz, Esquire
Mr. James Brennan
Mr. Raymond Tarnowski
(w/enclosure)

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EXHIBIT B

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IN THE UNITED STATES DISTRICT COURT
_ FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WAREHOUSE EMPLOYEES LOCAL 169 AND
EMPLOYERS JOINT PENSION FUND; JOSEPH :
LYONS, BRIAN RIECE, LARRY VOGELMAN,
EDWARD McDERMOTT, RAYMOND

TARNOWSKI, ROBERT H. BARRON, GEORGE: «
CZUBA AND THEIR SUCCESSORS AS | :
TRUSTEES OF THE WAREHOUSE

EMPLOYEES LOCAL 169 AND EMPLOYERS

JOINT PENSION FUND,
Plaintiffs, /
v. G AUG 9 2006
PRINTERS, INC., MICHAELEYKUNZ, Clerk
Defendant. ST oo

ORDER

AND NOW, this FA sey of lig , 2006, it is hereby ORDERED that a

judgment by default is entered in favor of Plaintiffs and against Defendant Printers, Inc. in the

total amount of $10,067.26.

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EXHIBIT C

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ASSET PURCHASE AGREEMENT

THIS AGREEMENT is made this 30th day of May, 2003, by and
between PRINTERS, INC., a Pennsylvania corporation (hereinafter referred to
as "'Seller"), which also trades under the name Clinton Envelope & Paper Co.,
and ‘IPG GRAPHICS, LLC, a New Jersey limited liability company
(hereinafter referred to as “Buyer’).

WITNESSETH
The Buyer desires to purchase and receive from the Seller, and the Seller

desires to sell and assign to the Buyer, those assets of Seller stated in Paragraph

1 below; and
The Buyer desires to accept and assume from the Seller, and the Seller
desites to assign to the Buyer, those obligations of Seller stated in Paragraph 2
below.
NOW, THEREFORE, intending to be legally bound and in
consideration of the mutual promises and conditions herein contained the
parties hereby agree as follows:

1. Purchase and Sale.

(a) On the terms and subject to all of the conditions of this
Agreement, the Buyer shall purchase from the Seller, and the Seller shall sell,

transfer and deliver to the Buyer at the Closing, as hereinafter defined:
AssetPurchaseAgr./ Printers To TPG

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() all of the Seller's good and saleable paper and envelope
stock in inventory, excluding any stock purchased and owned by Seller’s
customers.

(i) all presses, equipment, supplies, vehicles and all other
production assets relating to or used or useable in the Sellet's former business;

(iti) all of Seller's customer lists, trade goodwill and related
intangibles; and

(tv) the tight to use the names Clinton Envelope, Clinton
Envelopes and Clinton Envelope & Paper Co., (all of the foregoing set forth in
Paragraphs 1(a)(@), (i), (ii) and (iv) being sometimes hereinafter collectively
referred to as the "Assets").

(b) Notwithstanding any provision to the contrary contained
herein, no assets of Seller other than as identified in Section 1(a) above. are
purchased by or transferred to Buyer, including, but not limited to, cash,
ptepaid expenses, deposits, refunds, bank accounts, accounts receivable, notes
receivable, all books, records and accounts, whether electronically stored or
otherwise, and any amounts which may be recoverable by Seller in connection
with lawsuits and other unliquidated claims to which it is or may be a party.

2. Assumption of Certain Obligations of Seller by Buyer.

At the Closing, the buyer shali assume and agree to
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perform, pay and discharge, as and when due or as extended, those certain
obligations of Seller set forth on Exhibit A attached hereto and made a part

hereof, such obligations herein referred to as the "Assumed Obligations".

3. No Liabilities or Obligations of Seller Other Than As Set Forth in

Paragraph 2 Assumed by Buyer.

The Buyer will not assume and will not discharge or be liable for
any debts, liabilities, or obligations of the Seller, except as specifically set forth
in Paragraph 2 above, including, without limitation, any: (a) liabilities or
obligations of the Seller to its trade creditors, other creditors or stockholders as
such or as creditors; (b) liabilities or obligations of the Seller with respect to
any transactions occurring after the Closing; (c) sales or income tax or other
liabilities or obligations of the Seller incurred in connection with its
continuation, liquidation or dissolution; (d) liability to any landlord or lessor on
account of any lease transaction; (e) liability to any business broker in
connection with this transaction; or (f) any contingent liabilities or obligations
of the Seller.

4. Purchase Price.

(a) Subject to the terms and conditions of this Agreement and in
full consideration for the conveyance and transfer of the Assets to the Buyer

and the assumption of the Assumed Obligations as provided herein, the

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Purchase Price shall be Five Hundred Thousand Dollars ($500,000.00).

(b) The Purchase Price shall be paid at Closing, as provided
herein, by the delivery by Buyer to Seller of Seller’s promissory Note in
principal amount of $500,00.00 and bearing interest at rate of five (5) percent
pet year with a maturity date of five years from Closing (herein, the “N ote”’).

5. Closing.

(a) The closing ("Closing") shall be on June 1, 2003, or such other
date as the parties hereto shall mutually agree and Closing shall be deemed
effective as of June 1, 2003. The time and place of Closing shall be at such
time and place as the patties hereto shall mutually agree.

(b) At the Closing Seller will deliver to the Buyer:

@ A Bill of Sale and Assignment and other good and
sufficient instruments as shall be effective to vest in the Buyer good, absolute
and marketable title to the Assets being transferred to the Buyer by the Seller,
free and clear of all liens, charges, encumbrances, and restrictions whatsoever,

except with respect to those assets encumbered by the Assumed Obligations;

and

(#) Copies of all Seller's customer lists and supporting

documents applicable thereto and to the Assets and the Assumed Obligations.

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(c) At the Closing, Buyer shall deliver to Seller the Note referred
to in Section 4(b)(@);

(d) On June 1, 2003, Seller shall deliver to Buyer all of the Assets
of the Seller, and an executed original of this Agreement complete with all

Exhibits and Schedules attached thereto.

(e) On June 1, 2003 Buyer shall deliver to Seller an executed
original of this Agreement complete with all Exhibits attached thereto and an

executed original of the Note.

6. Representations and Warranties by Seller.

The Seller hereby represents and warrants to the Buyer as follows:

(a) The Seller is a corporation duly organized, validly existing and
in good standing under the laws of the Commonwealth of Pennsylvania and
has all the requisite corporate power and authority to carry on its business as it
is presently being conducted, to enter into this Agreement, and to carry out and
perform the terms and provisions of this Agreement.

(b) There ate no actions, suits or proceedings pending or
threatened against the Seller or affecting any of its properties or rights, at law or
in equity or before any federal, state, nvunicipal or other governmental agency
of instrumentality, domestic or foreign, nor is the Seller or any of its officers or

directors, to their actual knowledge, aware of any basis for any such with

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respect to any order or decree of any court or of any such governmental
agency or instrumentality.

(c) The Seller has good, absolute, and marketable title to all of the
Assets being sold to the Buyer pursuant to this Agreement. Except for the
Assumed Obligations, such assets are subject to no lease, mortgage, pledge,
lien, charge, security interest, encumbrance, or restriction whatsoever.

(d) The introduction of the Seller to the Buyer and all negotiations
on the part of the Seller relative to this Agreement and the transactions
contemplated hereby have been effected and carried on by the Seller directly
with the Buyer without the intervention or participation of any broker, finder

or other petson.

(e) The representations and warranties contained in and made part
of this Agreement shall only survive the Closing for a period of eighteen (18)

months.

7. Representations and Warranties By Buyer.

Buyer hereby represents and warrants to Seller as follows:
(a) Buyer is a limited liability company duly organized, validly
existing and in good standing under the laws of the State of New Jersey, and

has the requisite power and authority to carry on its business as presently

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conducted, to enter into this Agreement and to carry out the transactions
contemplated hereby.

(b) The execution and delivery of this Agreement by Buyer, and
the consummation by Buyer of the transactions contemplated hereby and
thereby, have been duly authorized by all requisite actions on the part of Buyer.
This Agreement, when duly executed and delivered by the proper
representative of Buyer, will constitute valid and binding obligations of Buyer.

(c) Neither the execution nor delivery of this Agreement by
Buyer, nor the consummation by Buyer of the transactions contemplated
hereby: |

@) constitute or will constitute a violation of or a default (or
an event which, with notice or lapse of time, or both, would constitute a
default) under, or conflict or will conflict with, any term or provision of any
material contract, commitment, indenture, lease or other material agreement,
atrangement or understanding, or any other restriction of any kind to which
Buyer is a patty or by which Buyer or its property or assets are bound or

affected; or

(i) constitute or will constitute a material violation of any
statutes or laws or any rule, regulation, or order, writ, injunction or decree of

any court or any governmental authority.

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(d) There are no actions, suits or proceedings pending or
threatened against Buyer which, if adversely determined, could have a material
adverse effect upon Buyer's ability to consummate the transactions
contemplated by this Agreement. The Buyer is not in default with respect to
any otder or decree of any court or of any governmental agency or
instrumentality.

(e) The introduction of the Buyer to the Seller and all negotiations
on the part of the Buyer with the Seller relative to this Agreement and the
transactions contemplated hereby have been effected and cattied on by the
Buyer directly with the Seller without the intervention or participation of any

broker, finder or other person.

(f) All representations, warranties and agreements of the Buyer
comtained herein or in any agreement, documents, statements, certificate or
other instrument referred to herein or delivered at the Closing in connection
with the transactions contemplated hereby shall survive the Closing Date.

8. Seller Indemnity.

The Seller shall and hereby agrees to indemnify, defend and hold

harmless the Buyer against and in respect of the following (hereinafter called a

"Loss" or "Losses"), in accordance with the terms and conditions of this

Paragraph 8:

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(a) any and all liabilities for or claims attributable to:
(i) the conduct by Seller of its business prior to Closing

(other than with respect to the Assumed Obligations);

(i) the conduct by the Seller of its business after the

Closing;
(ii) all liabilities and obligations of Seller not included in

the Assumed Obligations; and

(iv) a mistepresentation or breach of watranty under
Paragraph 6 herein.

(b) Any and all losses, damages, actions, suits, proceedings,
investigations, inquiries, demands, assessments, judgments, interest, penalties,
costs and expenses, including without limitation reasonable attomeys’ and
experts’ fees and expenses atising out of any liability or claim with respect to
which Seller is obligated to indemnify Buyer pursuant to Paragraph 8(a).

(c) Notwithstanding anything to the contrary contained in this
Agreement, no claim may be made or lawsuit instituted by Buyer under the
Provisions of this Paragraph 8 after eighteen (18) months from the date of
Closing.

(d) Notwithstanding anything to the contrary contained in this

Agreement, indemnification pursuant to this Paragraph 8 shall be the sole

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and exclusive remedy of the Buyer for recovery of monetary damages of any
nature whatsoever against the Seller.
(e) The amount which Seller is required to pay to Buyer pursuant
to this Paragraph 8 shall be reduced by any:
(i) insurance proceeds recovered by Buyer in reduction of
the related Loss;
(ii) the tax benefit related to such Loss; and/or
(iii) any credit or recovery from a third party received by or
paid to or for the benefit of Buyer as a result of such Loss.
9. Buyer Indemnity.

Buyer shall and hereby agrees to indemnify, defend and hold
harmless the Seller, its members and employees against and in respect of any of
the following (hereinafter called "Seller's Loss" or "Seller's Losses"), in
accordance with the terms and conditions of this Paragraph 9:

(a) Ail damages, losses and deficiencies that result from or arise
out of:
(i) the inaccuracy of any representations or warranty made;
(i) any mistepresentation, breach of watranty or breach or
nonfulfillment of any covenant to be performed on the part of the Buyer under

this Agreement, assumption instrument, ot any Schedule, Exhibit

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or other instrument furnished or to be furnished to Seller pursuant to this
Agreement, it being the agreed intention of the parties that the Buyer shall be
completely responsible for, and the Seller shall be deemed to have telied upon,
such representations, warranties, covenants, agreements, schedules, Exhibits
and instruments;

(b) any and all liabilities or claims to the extent attributable to the
conduct by the Buyer of its business subsequent to the Closing;

(c) the Buyer's failure to pay the Assumed Obligations when due —
and payable in accordance with their terms;

(d) any and all losses, damages, actions, suits, proceedings,
investigations, inquiries, demands, costs and expenses, including without
limitation reasonable attorneys’, consultant's, engineer's, investigator's and

expert's fees and expenses, incident to any of the foregoing;

10. Covenants Not to Compete.

In consideration for Buyer's covenants and obligations hereunder,
Seller agrees;

(a) That it will not, directly or indirectly, own, manage, operate,
join, control, or participate in the ownership, management, operation or
control of, ot be connected with, in any manner, any business in the

Philadelphia Metropolitan area, that shall be in competition with the

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business of the Seller as such business is presently conducted or shall be
conducted throughout the effectiveness of this Agreement for a period of three
(3) years following the Closing; and

(b) That, in the event of the breach or threatened breach by the
Seller of the foregoing resttictive covenant, the Seller, acknowledges hereby
that Buyer may not have adequate remedy at law, and that such breach or
threatened breach may be restrained by equitable relief.

11. Events of Default

(a) The following shall constitute an event of default ("Event of

Default") hereunder:

@) The failure of the Buyer to make any payments to Seller
requited hereunder or under the Note on the date such payments ate due if
such failure is not cured within ten (10) days after written notice of said default
is sent by Seller and is received by Buyer;

(ii) The Buyer shall:

_(A)apply for ot consent to the appointment of a
receiver, trustee, liquidator or custodian or the like of itself or of its property;
(B) admit in writing its inability to pay its debts

generally as they become due;

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(C) make a general assignment for the benefit of
creditors; .

(D) be adjudicated a bankrupt or insolvent; or

(E) commence a voluntary case under the federal
bankruptcy laws of the United States of reorganization, make an arrangement
with creditors or seek any order for telief to take advantage of any insolvency
law; ot take any action for the purpose of effecting any of the foregoing; or if
without the application, approval or consent of the Seller, a proceeding shall be
instituted in any court of competent jurisdiction, seeking in respect of the
Buyer an adjudication in bankruptcy, reorganization, dissolution, winding up,
liquidation, a composition or arrangement with creditors, a readjustment of
debts, the appointment of a trustee, receiver, or liquidator or custodian or the
like of the Buyer or of all or any substantial part of its assets, or other like relief
in respect thereof under any bankruptcy or insolvency law, and, if such
proceeding is being contested by the Buyer in good faith, the same shall
continue undismissed, ot pending and unstayed, for any period of seventy-five
(75) consecutive days; or

(ii) The Buyer shall commit a material breach of the

Buyer's obligations hereunder and such breach continues for a period of thirty

(30) days after receipt from Seller of | written notice thereof.

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(b) Upon the occurrence of an Event of Default hereunder, the Seller is
entitled to:
(i) all amounts payable and accrued hereunder or under
the Note to the date of the Event of Default
(ii) a release of the Seller from all obligations hereunder;
and
(iii) compensation for damages which are a result of such

breach.

12. Miscellaneous.

(a) This Agreement shall not be assignable by the Seller or Buyer,
without the consent of the other. Nothing in this Agreement, expressed or
implied, is intended to confer on any person, other than the parties hereto and
their successors, any tights or remedies under or by reason of this Agreement.

(b) Each of the parties shall bear all expenses incurred by them in
connection with this Agreement and in the consummation of the transactions
contemplated hereby and in preparation thereof.

(c) This Agreement moay be amended or modified at any time and
in all respects, or any provisions may be waived by an instrument in writing

executed by the Buyer and the Seller or by either of them in the case of a

waiver.

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(d) Any notices or other communications required or permitted
hereunder shall be sufficiently given if delivered personally or sent by registered
or certified mail, postage prepaid, addressed to the Seller at #1251 Sequoia
Road, Cherry Hill, NJ 08003, or to the Buyer at 9040 Pennsauken Highway,
Pennsauken, NJ 08110, or at such other address as shall be furnished in writing
by any party to the others, and shall be deemed to have been given as of the
date so delivered or deposited in the United States Mail as the case may be.

(e) It is the intention of the parties that the substantive laws of
New Jersey shall govern the validity of this Agreement, the construction of its
terms, and the interpretation of the rights and duties of the parties.

(f) Article, paragraph and other headings contained in this
Agreement are for reference purposes only and shall not affect in any way the
meaning or interpretation of this Agreement.

(g) This Agreement may be executed in two or more
counterparts, each of which shall be deemed an original, but all of which
together shall constitute but one and the same instrument.

(h) All personal pronouns used in this Agreement shall include
the other genders whether used in the masculine, feminine or neuter gender,

and the singular shall include the plural whenever and as often as may be

appropriate.
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@) All the terms and provisions of this Agreement shall be
binding and inure to the benefit of, and be enforceable by, the Seller and the

Buyer and their respective successors.

Gj) The Buyer and the Seller agree to keep confidential the terms
of this Agreement other than the fact that the Buyer has purchased Seller’s

Assets.

SELLER: PRINTERS, INC.

“Lp

fe .
Robert Donner, President

BUYER: TPG GRAPHICS, LLC

2, Sn (Cor. ‘

Steven Rubin, Managing Member

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Asset Purchase Agreement
Seller: Printers, Inc.
Buyer: TPG Graphics, LLC
May 30, 2003

EXHIBIT A

ASSUMED OBLIGATIONS

1. Beneficial Savings Bank
Loan A/C #341001290640
Principal Amt: $13, 338.84
[Secured by title to 2001 Ford Windstar
Mini-Van, Set. # 2FMDA57481
BA64660]

2. Beneficial Savings Bank
Loan A/C #341001290657
Principal Amt: $13,108.56
[Secured by title to 2001
Ford Windstar Mini-Van,
Set # 2FMDA57451BA15061]

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EXHIBIT D

- PROMISSORY NOTE

$500,000.00 Date: June 01, 2003

For value received, the undersigned TPG Graphics, LLC (the "Promisor") promises
to pay to the order of Printers, Inc. (the "Payee"), at 1251 Sequoia Road, Cherry Hill,
NJ 08003, (or at such other place as the Payee may designate in writing) the sum of
$500,000.00 with interest from June 01, 2003, on the unpaid principal at the rate of

5 % pert annum.

Unpaid principal after the Due Dates designated below shall accrue-interest at a rate

of
10 % annually until paid.

Promisor executes and delivers this Note to Payee pursuant to the terms of that
certain Asset Purchase Agreement effective of even date herewith, attached hereto

and incorporated herein and hereby.

All payments on this Note shall be applied first in payment of accrued interest and
any remainder in payment of principal.

Due Dates: Principal and accrued interest under this Note shall be due and made in
five (5) annual installments commencing May 31, 2004.

The Promisor promises to pay a late charge of $100.00 for each installment that
remains unpaid more than 30 day(s) after its due date. This late charge shall be paid
as liquidated damages in lieu of actual damages, and not as a penalty.

If any installment is not paid when due, the remaining unpaid balance and accrued
interest shall become due immediately at the option of the Payee.

The Promisor reserves the right to prepay this Note (in whole or in part) prior to the

_ due date with no prepayment penalty.

If any payment obligation under this Note is not paid when due, the Promisor
promises to pay all costs of collection, including reasonable attorney fees, whether ot

not a lawsuit is commenced as part of the collection process.

If any of the following events of default occur, this Note and any other obligations of
the Promisor to the Payee, shall become due immediately, without demand or notice:

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Promissory Note - TPG to Printers

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1) the failure of the Promisor to pay the principal and any accrued interest
in full on or before the Due Dates;

2) the filing of bankruptcy proceedings involving the Promisor as a Debtor;
3) the application for a receiver for the Promisor;

4) the making of a general assignment for the benefit of the Promisor's
cteditors;

5) the insolvency of the Promisor; or

6) the misrepresentation by the Promisor to the Payee for the purpose of
obtaining or extending credit.

If any one or mote of the provisions of this Note ate determined to be unenforceable,
in whole or in part, for any reason, the remaining provisions shall remain fully

operative.

All payments of principal and interest on this Note shall be paid in the legal currency
of the United States. Promisor waives presentment for payment, protest, and notice
of protest and nonpayment of this Note.

No tenewal or extension of this Note, delay in enforcing any right of the Payee under
this Note, or assignment by Payee of this Note shall affect the liability of the
Promisor. All rights of the Payee under this Note are cumulative and may be

exercised concurrently or consecutively at the Payee's option.

This Note shall be construed in accordance with the laws of the State of New Jersey.
Signed this kd _ day of lite. , 2003, Pennsauken, NJ.

Promisor

TPG me
By: Oe han

Steven Rubin

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